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                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                 BEFORE THE HONORABLE WILLIAM ALSUP

ORACLE AMERICA, INC.,              )
                                   )
             PLAINTIFF,            )
                                   )
  VS.                              ) NO. C 10-03561 WHA
                                   )
GOGGLE, INC.,                      )
                                   ) SAN FRANCISCO, CALIFORNIA
             DEFENDANT.            ) WEDNESDAY
                                   ) FEBRUARY 9, 2011
___________________________________) 11:00 O'CLOCK A.M.

                      TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

FOR PLAINTIFF:             MORRISON & FOERSTER LLP
                           755 PAGE MILL ROAD
                           PALO ALTO, CALIFORNIA 94304-1018
                     BY:   RICHARD S. BALLINGER, ESQUIRE
                           ROMAN A. SWOOPES, ESQUIRE
                           MARC DAVID PETERS, PH.D., PARTNER
                           MICHAEL A. JACOBS, PARTNER
                           DIANE C. GABL, ATTORNEY AT LAW
                           650-251-3974

AND

                        ANDREW C. TEMKIN, CORPORATE COUNSEL
                        500 ORACLE PARKWAY
                        M/S 50P7
                        REDWOOD SHORES, CALIFORNIA 94065
FURTHER APPEARANCES ON NEXT PAGE.




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1    FURTHER APPEARANCES:

2    ALSO FOR PLAINTIFF:

3                                BOIES, SCHILLER & FLEXNER LLP
                                 1999 HARRISON STREET
4                                SUITE 900
                                 OAKLAND, CALIFORNIA 94612
5                         BY:    STEVEN C. HOLTZMAN, ESQUIRE

6

7    FOR THE DEFENDANT:

8                               KING & SPALDING LLP
                                1185 AVENUE OF THE AMERICAS
9                               NEW YORK, NEW YORK 10036-4003
                          BY:   BRUCE W. BABER, ESQUIRE
10                              SCOTT T. WEINGAERTNER, ESQUIRE

11   AND

12                              KING & SPALDING LLP
                                100 N. TRYON STREET
13                              SUITE 3900
                                CHARLOTTE, NORTH CAROLINA 28202
14                        BY:   STEVEN T. SNYDER, ESQUIRE

15   AND

16                               RENNY HWANG, ASSOCIATE LITIGATION
                                 COUNSEL
17                               GOOGLE
                                 1600 AMPHITHEATRE PARKWAY
18                               MOUNTAIN VIEW, CALIFORNIA 94043

19

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25
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1    YOUR HONOR.

2                THE COURT:    WHAT?

3                MR. WEINGAERTNER:     THAT'S WHAT WE WERE WONDERING,

4    YOUR HONOR.   WE HAD A DISCUSSION ABOUT THAT.

5                THE COURT:    CAN I ASK YOU A QUESTION ABOUT THIS CASE?

6    MAYBE I SHOULDN'T.

7                MR. JACOBS:    NO, GO AHEAD.

8                THE COURT:    I'M JUST WONDERING ABOUT THE THEORY

9    SINCE -- I DON'T KNOW ENOUGH ABOUT THIS TO SAY, BUT SOME PEOPLE

10   WOULD HAVE THOUGHT THAT JAVA WAS IN THE PUBLIC DOMAIN AND THAT

11   NOBODY OWNED IT, BECAUSE MANY PEOPLE HAVE BEEN HEARING ABOUT

12   JAVA FOR 30 YEARS, SO HOW COULD ANYBODY OWN IT?

13               MR. JACOBS:    WELL, IT DEPENDS ON WHAT "IT" IS, YOUR

14   HONOR.

15               THE COURT:    ALL RIGHT.

16               MR. JACOBS:    SO, FOR EXAMPLE, THE JAVA PROGRAMMING

17   LANGUAGE, WE'RE NOT ASSERTING THAT WE OWN THAT PROGRAMMING

18   LANGUAGE FOR PURPOSES OF THIS CASE.       BUT WE ARE ASSERTING,

19   OBVIOUSLY, WITH RESPECT TO THE PATENTS THAT WE HAVE PATENT

20   RIGHTS.

21               WE WERE JUST TALKING ABOUT --

22               THE COURT:    PATENT RIGHTS ON WHAT?

23               MR. JACOBS:    ON PATENTS THAT HAPPEN TO HAVE ARISEN

24   FROM THE INNOVATIONS ASSOCIATED WITH JAVA.

25               THE COURT:    HOW IS THAT DIFFERENT FROM JUST USING THE
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1    JAVA CODE ITSELF?

2                MR. JACOBS:    WELL, THE JAVA CODE -- SO THE JAVA CODE

3    ITSELF IS NOT IN THE PUBLIC DOMAIN.       THE JAVA CODE ITSELF IS

4    LICENSED UNDER OPEN SOURCE LICENSES THAT HAVE THEIR OWN BENEFITS

5    TO ORACLE AND TO THE OPEN SOURCE COMMUNITY.

6                GOOGLE HAS NOT AVAILED ITSELF OF THOSE OPEN SOURCE

7    LICENSES. IT CHOSE A DIFFERENT LICENSING PATH WITH ANDROID,

8    SO --

9                THE COURT:    SEE, I DON'T KNOW ENOUGH ABOUT WHAT THAT

10   "OPEN SOURCE" MEANS, SO I HAVE A FEELING I SHOULD PROBABLY JUST

11   LET IT LIE.   BUT SINCE I LET YOU HAVE A MOMENT, LET'S HEAR FROM

12   THE OTHER SIDE, SO YOU HAVE EQUAL TIME.

13               MR. WEINGAERTNER:     WELL, THANK YOU, YOUR HONOR.

14               WE'RE ACTUALLY GLAD TO HEAR MR. JACOBS, I BELIEVE,

15   TAKE THE POSITION THAT THE JAVA LANGUAGE WASN'T PROTECTED,

16   BECAUSE I THINK THERE WAS AN OPEN ISSUE ABOUT THAT.

17               WE WERE ACTUALLY UNDER THE IMPRESSION THAT THEY WERE

18   TAKING THAT POSITION.     WE'RE ACTUALLY TRYING TO SORT OUT EXACTLY

19   WHAT THEIR POSITIONS ARE, AND WE'RE GLAD THAT YOUR HONOR RAISED

20   THIS ISSUE, BECAUSE "JAVA" IS A TERM THAT IS USED EXTREMELY

21   BROADLY IN THIS CASE TO COVER LANGUAGE, TO COVER PLATFORM.

22               AND I THINK THEY WANT IT TO COVER PATENTS, ALTHOUGH I

23   THINK WE'RE ON THE SAME PAGE AS YOUR HONOR THAT THEY ARE --

24               THE COURT:    I'M NOT ON ANY PAGE.      PLEASE DON'T SAY

25   THAT. DON'T SAY THAT. I DON'T KNOW ENOUGH ABOUT THIS TO BE ON
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1    ANY PAGE. SO I JUST ASKED THE QUESTION.

2                MR. WEINGAERTNER:     OKAY.   LET ME REPHRASE THAT.

3    WE'RE ALSO NOT ON THE SAME PAGE AS YOUR HONOR.

4                THE COURT:    ALL RIGHT.    AT LEAST YOU ASKED THE SAME

5    QUESTION.   ALL RIGHT.

6                ALL RIGHT. SO I NEED TO ALERT YOU ALL WHILE I GOT YOU

7    HERE THAT STARTING MARCH 7TH -- DID I SEND OUT SOMETHING ON THIS

8    ALREADY?

9                MR. JACOBS:    I DON'T --

10               THE COURT:    ALL RIGHT.    STARTING MARCH 7TH I WILL BE

11   IN A LARGE GANG CASE THAT WILL -- CRIMINAL PROSECUTION -- THAT

12   WILL PROBABLY GO SIX MONTHS, FOUR MONTHS, SIX MONTHS, SOMEWHERE

13   IN THERE.

14               SO IF YOU ARE GOING TO FILE ANY MOTIONS, I MAY HAVE

15   TO ASK YOU TO DO A PROCEDURE WHEREBY YOU CAN'T FILE ANY MOTIONS

16   UNLESS YOU GET PERMISSION IN ADVANCE.

17               SO LET ME ASK YOU:     DO EITHER OF YOU HAVE MOTIONS

18   THAT YOU ARE CONTEMPLATING?       IF YOU DO, I MIGHT AS WELL DEAL

19   WITH IT RIGHT NOW.

20               MR. BABER:    AGAIN, YOUR HONOR, IF I MAY.

21               THE COURT:    SURE.   COME ON UP.

22               MR. BABER:    YES.    BRUCE BABER FROM KING & SPALDING.

23               WE ARE CONTEMPLATING AN EARLY MOTION FOR SUMMARY

24   JUDGMENT ON THE COPYRIGHT COUNT.       THERE'S SEVEN PATENTS ASSERTED

25   AND TWO COPYRIGHTS, AND WE BELIEVE THAT THE COPYRIGHT CLAIM
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1    SHOULD FAIL, AND WE ARE PREPARING AN EARLY MOTION ON THAT.

2                THE COURT:    IS THIS SOMETHING THAT COULD BE EASILY

3    CURED BY PLEADING AROUND THE PROBLEM?

4                MR. BABER:    NO, YOUR HONOR.     IT HAS NOTHING TO DO

5    WITH THE PLEADING.     IT HAS TO DO WITH THE SUBSTANCE OF THE

6    CLAIM.   I'M HAPPY TO GO INTO IT IN AS MUCH DETAIL AS YOU LIKE.

7    WE THINK IT'S SOMETHING THAT CAN'T BE CURED.         IT'S JUST THAT --

8    IN FACT, IT RELATES TO ONE OF THE ISSUES YOU JUST RAISED, WHICH

9    IS THE "JAVA PROGRAMMING LANGUAGE," AS YOU PUT IT, THERE ARE

10   CERTAIN PIECES OF THE ANDROID THAT ARE THERE SO THAT PROGRAMS

11   WRITTEN IN THE JAVA LANGUAGE WILL RUN RIGHT.

12               THAT'S THESE API'S.      OKAY?   SO THAT --

13               THE COURT:    WHAT IS AN API?

14               MR. BABER:    IT'S AN APPLICATION PROGRAMMING

15   INTERFACE, WHICH BASICALLY ALLOWS ONE COMPUTER SOFTWARE PROGRAM

16   TO SAY TO ANOTHER ONE:

17                    "DO THIS FOR ME."

18               OKAY?   IT MAKES A CALL, AND IT ASKS THE OTHER PROGRAM

19   TO PERFORM A FUNCTION.

20               AND IN JAVA PROGRAMMING LANGUAGE IT HAS THESE

21   COMMANDS.   IT SAYS:

22                       "GO ASK THIS TO DO THAT.     GO ASK THIS OTHER

23               THING TO DO SOMETHING ELSE."

24               AND THOSE, THERE ARE SOME PIECES OF THOSE KINDS OF

25   JAVA API'S THAT ARE IN THE ANDROID THAT ARE THERE SO THAT
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1    PROGRAMS IN THE JAVA LANGUAGE WILL RUN CORRECTLY.          AND THAT'S

2    WHAT THEY BASE THE COPYRIGHT INFRINGEMENT CLAIM ON, PRIMARILY.

3                THE COURT:    IS THIS A SUMMARY JUDGMENT MOTION?

4                MR. BABER:    YES, YOUR HONOR, IT IS.

5                THE COURT:    WELL, HERE'S WHAT YOU OUGHT TO DO. DON'T

6    FILE THAT YET. FILE A THREE-PAGE PRECIS, P-R-E-C-I-S.

7                AND IF IT'S -- I WON'T SAY -- I WILL IF IT'S GOT

8    ENOUGH PLAUSIBILITY THAT I THINK I CAN WORK IT IN.          I WON'T SAY

9    THAT -- THAT DOESN'T MEAN IT WILL BE GRANTED. IT JUST MEANS IT'S

10   IN THE BALLPARK OF PLAUSIBILITY, THEN WE WILL SET A SCHEDULE FOR

11   THAT.

12               BUT I NEED TO IMPOSE SOME KIND OF -- SOME KIND OF WAY

13   TO PROTECT MYSELF AGAINST HAVING TOO MUCH MOTION PRACTICE, AT

14   LEAST FOR THE NEXT FEW MONTHS.

15               I'M ALREADY WITHIN 30 DAYS OF THIS TRIAL, AND IT'S

16   NOT GOING TO GO AWAY.     IT'S A MAJOR PROBLEM, A MAJOR TIME

17   COMMITMENT.

18               SO ALL RIGHT.     SO CAN YOU DO A THREE-PAGE LETTER?

19               AND THEN, MR. JACOBS, YOU CAN FILE A THREE-PAGE -- NO

20   ATTACHMENTS. LOOK AT THIS (INDICATING).        I ASKED FOR -- LOOK AT

21   THIS (INDICATING).     I ASKED FOR A THREE-PAGE THING.       AND THIS IS

22   WHAT MORRISON & FOERSTER GAVE ME WITH FOUR INCHES.

23               JUST THREE PAGES, NO ATTACHMENTS. NO -- NOTHING BUT

24   JUST SUMMARY.    AND THEN, I CAN TELL WHETHER OR NOT THERE'S

25   ENOUGH PLAUSIBILITY.     AND ALSO WHY IT OUGHT TO BE HEARD NOW AS
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1                               CERTIFICATE OF REPORTER

2              I, KATHERINE WYATT, THE UNDERSIGNED, HEREBY CERTIFY

3    THAT THE FOREGOING PROCEEDINGS WERE REPORTED BY ME, A CERTIFIED

4    SHORTHAND REPORTER, AND WERE THEREAFTER TRANSCRIBED BY ME INTO

5    TYPEWRITING; THAT THE FOREGOING IS A FULL, COMPLETE AND TRUE

6    RECORD OF SAID PROCEEDINGS.

7                I FURTHER CERTIFY THAT I AM NOT OF COUNSEL OR

8    ATTORNEY FOR EITHER OR ANY OF THE PARTIES IN THE FOREGOING

9    PROCEEDINGS AND CAPTION NAMED, OR IN ANY WAY INTERESTED IN THE

10   OUTCOME OF THE CAUSE NAMED IN SAID CAPTION.

11               THE FEE CHARGED AND THE PAGE FORMAT FOR THE

12   TRANSCRIPT CONFORM TO THE REGULATIONS OF THE JUDICIAL

13   CONFERENCE.

14                 IN WITNESS WHEREOF, I HAVE HEREUNTO SET MY HAND THIS

15   10TH DAY OF FEBRUARY, 2011.

16

17

18

19              __________________________________

20                   /S/ KATHERINE WYATT

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       KATHERINE WYATT, OFFICIAL REPORTER, RPR, RMR         925-212-5224
